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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


MARK W. DOBRONSKI,                          Case No. 2:23-cv-12597-SJM-DRG

            Plaintiff,                      The Honorable Steven J. Murphy III
                                            United States District Judge
v.
                                            The Honorable David R. Grand
SELECTQUOTE INSURANCE                       United States Magistrate Judge
SERVICES and
TUAN ENGLAND PHAM,

          Defendants.
___________________________________________________________________

        PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY
                 IN OPPOSITION TO DEFENDANTS’
        JOINT MOTION TO DISMISS PLAINTIFF’S COMPLAINT
               PURSUANT TO FRCP 12(c) AND FRCP 56

      Plaintiff, MARK W. DOBRONSKI, appearing in propria persona, hereby

submits this notice of supplemental authority to alert the court to recent new

developments regarding authority bearing on the issues raised in Defendants’ Joint

Motion to Dismiss Plaintiff’s Complaint Pursuant to FRCP 12(c) and FRCP 56

(“Motion”) [ECF No. 33].

      On December 3, 2024, the United States District Court for the District of

Massachusetts entered its Memorandum & Order in the matter of Traylor v. Livefree


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Emergency Response Inc., et al., Case No. 1:24-cv-10329-IWT, 2024 WL 4943042

(D.Mass., Dec. 3, 2024), a copy of which is attached hereto at EXHIBIT A.

      In Traylor, that court was called upon to consider the issue of vicarious

liability. There, the Court held:

              “The FCC has ruled that “a company on whose behalf a
             telephone solicitation is made bears the responsibility for
             any violation of our telemarketing rules and calls placed by
             a third party on behalf of that company are treated as if the
             company itself placed the call,” In Re Dish Network, LLC,
             28 F.C.C.R. 6574, 6589 (2013) (quotation omitted), and
             that this reading of the TCPA is necessary to ensure it
             functions as an “effective remedy,” id. at 6591. The FCC
             was clear that “allowing [a] seller to avoid potential
             liability by outsourcing its telemarketing activities to
             unsupervised third parties would leave consumers in many
             cases without an effective remedy for telemarketing
             intrusions.” Id. at 6588. Following the FCC's ruling, courts
             have found vicarious liability for parties engaging
             third-party telemarketers under federal common law
             agency principles. See, e.g., Rosenberg v. LoanDepot.com
             LLC, 435 F.Supp.3d 308, 325 (D. Mass. 2020); see also
             Campbell-Ewald Co. v. Gomez, 577 U.S. 153, 168 (2016)
             (stating court had “no cause to question” FCC's decision).”

Traylor v. Livefree Emergency Response Inc., et al., Case No. 1:24-cv-10329-IWT,

2024 WL 4943042, at *4 (D.Mass., 2024).

      The Traylor decision provides new and additional support for this Court’s

consideration with respect to why Defendants’ Joint Motion to Dismiss Plaintiff’s

Complaint Pursuant to FRCP 12(c) and FRCP 56 [ECF No. 33] should be denied.

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                                              Respectfully submitted,



Date: December 16, 2024                       _______________________________
                                              Mark W. Dobronski
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                                              (734) 641-2300
                                              markdobronski@yahoo.com
                                              Plaintiff In Propria Persona



                         CERTIFICATE OF SERVICE

      I hereby certify that on December 16, 2024, I electronically filed the foregoing
Plaintiff’s Notice of Supplemental Authority in Opposition to Defendants’ Joint
Motion to Dismiss Plaintiff’s Complaint Pursuant to FRCP 12(c) and FRCP 56 with
the Clerk of the Court via the Court’s Pro Se Document Upload utility, which will
send notification of such filing to all counsel of record via the CM/ECF system.



                                              _______________________________
                                              Mark W. Dobronski




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